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                     EXHIBIT 1
         Case 5:15-cv-01278-TJH-JC Document 1-1 Filed 06/29/15 Page 2 of 6 Page ID #:5


                                            v                                                    v
     I   PaulMankin, Esq. (SBN 264038)
                                                                                                                            FV
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                                                                                             FILED
  2
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  6      Attorney for Plaintiff

  7

  t
                            SUPERIOR COURT OF THE STATE OF CALIFORNIA
  9                                FOR TEE COTJNTY OF RIVERSIDE
 t0
                                             LIMTTED JURISDICTION

il                                                                 casewo.Rlc            150 4?52
l2                                                                 COMPLAINT FOR VIOLATION
         LORRAINE HOLLAND, an indivldual,
l3
                                                                   OF ROSENTHAL FAIR DEBT
         Plaintiff,                                                COLLECTION PRACTICES ACT ANI)
'14
                                                                   FEDERAL FAIR DEBT COLLECTION
                 vs.                                               PRACTICES ACT
I5

ló       MIDLAND CREDIT MANAGEMENT,                                (Amount not to exceed $10,000)
         INC., and DOES I úhrough l0' inclusive,
17                                                                      l.   Violation of Rosenthal Fair Debt
         Defendant.                                                          Colleotion Practices Aot
r8
                                                                        2.   Violation of Fair Debt Collection
 l9                                                                          Practices Act

20


2t                                              I.   INTRODUCTION

2Z               l.    This is an action for damages brought by an individual consumer for Defendant's

2l       violations of the Rosenthal Fai¡ Debt Collection Practices Act, Cal Civ Code $1788, el                      seq,

24
         (hereinafter "RFDCPA") and the Fair Dcbt Collection Practices Act,               l5 U.S.C.     $1692, et seq.
25
         (hereinafrer "FDCPA'), both        of which prohibit debt collectors from engaging in                   abusive,
26

         deceptive, and unfair practices.
27


2t




                                                       Complaint   -|
     Case 5:15-cv-01278-TJH-JC Document 1-1 Filed 06/29/15 Page 3 of 6 Page ID #:6


                                          v                                                     v
 I                                                   IL   PARTIES
 2
                 2.      Plaintiff, Lorraine Holland ('?laintiff'), is a natural person residing in Riverside
 3

     County in the State of California and is a "consumer" as defined by the FDCPA, 15 U.S.C.
 4

     $I   692a(3) and is a "debtor" as defined by Cal Civ Code            $   l7EE.2(h).
 5


 6               3.      At all   relevant times herein, Defendant, Midland Credit Management, Inc.

 7   (Defendant'), was a çompany engaged, by use of the mails and telephone, in the business of
 E
     collecting       a debt f¡om Plaintiff which qualifies as a "debt," as dcfined by 15 U,S.C.
 9

     91692(aX5), and a "consumer            debt" as defined by Cal Civ Code $1788,2(Ð.                  Defendant
t0

t¡   regululy attempts to colleçt debts alleged to be due another, and therefore is               a "debt collector"


t2   as defined by the     FDCPA, l5 U.S.C. $1692(aX6), and RFDCPA, Cal, Civ. Code $1788.2(c).
l3
                 4,      Plaintiff does not know the truç nsmçs and capacities, whether corporate,
l4
     pafnership, associate, individual or otherwise, of Dçfendants sued herein as Does I through                   10,
l5
     inclusive, and therefore names said Defendants under provisions                       of   Section 474   of   the
l6

l7   California Code of Civil Procedure'

IE               5.      Plaintiff is informed and bclieves, and on that basis alleges that Defendants
t9
     Does    I   through l0 are in some manner responsible for acts, ocsurences and transactions                   set

20
     fofh herein and      are legally liable to Plaintiff.
2l

22
                                         Itr.   FACTUAL ALLEGATIONS

23               6.      At   various and muttiple times prior           to the filing of the instant    complaint,

24   including within the one year preceding the filing of this complaint, Defendant contacted
25
     Plaintiffin an atrempt to collect an alleged outstanding debt originally owed to T-Mobile and/or
26
     Sprint.
27

2E




                                                       Conplaint -   2
     Case 5:15-cv-01278-TJH-JC Document 1-1 Filed 06/29/15 Page 4 of 6 Page ID #:7
     I
         l*-Y/
         I

         I
         I
 I       |           7.
 2       l.----¿--
         f
                               Defendant has placed calls to Plaintiffon a daily basis, mainly

             number (877) 240-2377, regarding the alleged debt.
                                                                                                  tom   tetephone


 3       I
         I           8.        On ínformation and belie{, Defendant contacted Plaintiffthree o¡ more times per
 4
         I
                   in an attempt to collect the alleged debt.
 5
     lweek
 6   I              g.         Plaintiff asserts that she notified Defendant that her identity was stolen and   she
     I
 7
     lsubmitted           a dispute form with a caase and desist request, Plaintiff further asserts that
     I
 E

     lOefendant claimed not receiving Plaintiffs dispute fonn. Ptaintiffcontends that she faxed the
 9   I
     ldispute form to Defendant numerous times, the tast occasion was on June 5, 2014.
t0   I


il   |               10.       Despite being informed that Plaintiff disputed the alleged debt, Defendant
     I

t2                     to place calls to Plaintiff
     lcontinued
t3
     I               tr.       Plaintiffçontends that Defendant never addressed her dispute regarding the
t4   I

     I       alleged debt, but continued to contact her relentlessly. Plaintiffresolved to change her phone
t5
     I


     I       number, howevsr, Dcfendant started calling Plaintiffs new phone number, still undetened in its
¡6
     I


l7   lcollection efforts.

     I               lZ.
     I

rt                             Plaintiff is a disabled senior citizen and Defendant's unrelenting calls      have
     I
t9
     lcaused her extreme frustration and distress.
20
                     t¡.
     I

     I                         Defendant's conduct violated the FDCPA and the RFDCPA in multiple ways,
zt
     I



     I       including but not limited to:
22
     I




2J   I                    r)   Contacting consumer afrer receipt of written cease and desist letter ($ 1692c(c));
     I
24
     I                    U) Engaging in conduct the natural conseguence ofwhich is to        harass, oppress, or

25
     I                       abuse Plaintiff($ 1692d);
     I


26   I                    c)   Causing a telephone to ring or engaging any person in telephone conversation
     I                         repeatedly or continuously with intent to annoy, abuse, or harass any person at
27
     I                         the called number ($ 1692d(5));

2E   I



     I



     I

     I



     I

                                                           Complaint - 3



     I
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                                       v                                                ¿

 I              d)   Causing a telephone to ring repeatedly or continuously to annoy Plaintiff
                     (Cal Civ Code $1788.1l(d));
 2


 3              e)   Communicating, by telephone or in person, with such frequency as to be
                     unreasonable and to constitute a harassment to Plaintiff under the circumstances
 4                   (Cal Civ Code $ 1788,1l(e).
 5
            14.      As a result of the above violations of the FDCPA and RFDCPA, Plaintiff
 6
     suffered and continues       to   suffer injury     to Plaintiffs     feelings, personal humiliation,
 7


 I   embarrassment, mental anguish and emotional distress, and Defendant is liable to            Plaintifffor

 I Plaintiffs   actual damages, statutory damages, and costs and attomey's fees,

l0          15.      Additionall¡   as a result of   Plaintiffbeing   a senior cÌtizen and disabled as

ll
     defined under California Civil Code Section 3345, and as a conseguence of Defendant's
t2
     wrongñrl actions, Plaintiffis entitled to a trebling of any damaged imposed by the hier of fact
t3

l4   pursuant to California   Civil Code Section 3294'

t5                              COUNT I: VIOLATION OF ROSENTEAL
                              X'AIR DEBT COLLECTION PRACTICES ACT
l6

t7          16.      Plaintiffreincorporates by reference all of the preceding paragraphs.

IE          17.      To the extent that Defendant's actions, counted above, violated the RFDCPA,
t9
     those actions were done knowingly and      willfully.
20
                                           PRAYER FOR RDLIEF
2l
            WHEREFORE, Plaintiffrespectfully prays lhat judgment be ente¡td against Defendant
z2

2t   for the following:

24                   A.       Aotual damages;
25
                     B.       Statutory damages for willft¡l and negligent violations;
                     C.       Costs and reasonable attomey's fees; and
26                   D.       For such other and further relief as may be just and proper.

27

28




                                                     Complaint - 4
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                                                                                   Y,
                                      Y
 I                              gouNT tr: YIoLATI9N oF TAIR P4BT
                                    COLLECTION PRACTICES ACT
z

 3           18.     Plaintiffreincorporates by rtference all of the prece.ding paragraphs.

 4                                        PRAYER FOR RELIEF
 5
             WHEREFORE, Plaintiffrespectfrrlly prays that judgment be entered against Defendant
 6
      for the following:
 7


 I
                     A.       Actualdamages;
                     B.       Statutory darnages;
 9                   C.       Costs and reasonable attorney's fees; and,
                     D.       For such other and fi¡rther relief as may be just and proper.
t0

il
                           PLAINTIT'X'HEREBY 4EqUESTS A TRIAL BY JURY
t2
                     Respectfully submitted this March 31, 2015.
t3

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I5                                            By:
                                                      Paul Mankin, Esq.
tó
                                                      l¿w Office of L. Paul Mankin
t7                                                    Auomey for Plaintiff

It
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22

2t

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                                                    Complaint.   5
